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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        CASE No: 1:17-CR00192 DAD

12                       Plaintiff,                    STIPULATION AND ORDER
                                                       REGARDING CONTINUANCE OF
13          v.                                         SENTENCING

14    URIEL MADRIGAL-PEREZ,
                                                       DATE: August 28, 2019
15                       Defendant.                    TIME: 10 a.m.
                                                       Hon. Dale A. Drozd
16

17      Defendant by and through his attorney of record and Plaintiff by and through its attorney of
18   record, hereby stipulate as follows:

19      This matter was set for sentencing on Wednesday, August 28, 2019 at 10 a.m.
                                                       zt
        By this stipulation, the parties now move to continue the sentencing date from August 28,
20
     2019 at 10 a.m. to October 14, 2019 at 10 a.m.
21
        There is more work that needs to be completed before the Defendant can be sentenced.
22      The parties agree and stipulate and request that the Court grant the continuance.
23

24   Dated: August 22, 2019                                Respectfully submitted,

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26
                                                        s/s Barbara Hope O’Neill
27                                                    Barbara Hope O’Neill attorney for
                                                          Uriel Madrigal-Perez
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                                                       1
     Case 1:17-cr-00192-ADA-BAM Document 37 Filed 08/23/19 Page 2 of 2


 1    Dated: August 22, 2019                                  s/s Laurel J. Montoya__
                                                                Laurel J. Montoya
 2                                                           Assistant United States Attorney
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 5
                                                ORDER
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 7          The sentencing hearing currently set for August 28, 2019 is continued to October 15, 2019
 8   at 10:00 am.

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     IT IS SO ORDERED.
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11      Dated:      August 23, 2019
                                                     UNITED STATES DISTRICT JUDGE
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